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                                                                                                   OF TEXA

                          IN THE UNITED STATES DISTRICT COURT                       AIJG o 6 2024
                               EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION
                                                                          BY
IN RE:                                              § DEPUTY

SUBPOENA ISSUED TO                                  § C.A. NO. 1' 7 lC 3
REAUD, MORGAN & QUINN, LLP                          §
             PLAINTIFF S MOTION TO QUASH OR MODIFY SUBPOENA


         COMES NOW, REAUD, MORGAN & QUINN, LLP, and pursuant to

Fed.R.Civ.P. 45 files this its Motion to Quash or Modify Subpoena and in support of

same would show as follows:


                                                   I.



         On July 24, 2024, Movant Reaud, Morgan & Quinn, LLP (hereinafter RMQ )

was served with the redacted subpoena attached hereto as Exhibit A .1


                                                   II.


         The factual background to this subpoena is that, in April 2023, Shewak

Lajwanti Home Fashions, Inc. (the party which issued the subpoena) (hereinafter

 SLHF ) and Maverick International, Ltd. (hereinafter Maverick ) entered into a

Tolling Agreement, a true and correct copy of which is attached hereto as Exhibit B .

         The Tolling Agreement obligated Maverick to, in the event of recovery of a




1 The original subpoena contains a reference to a specific dollar fi ure. Th t dollar fi ure is referable
to a confidential settlement reached in another matter.
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lawsuit against a third-party, deposit the recovery funds into, inter alia, an IOLTA

account, as more fully stated below:


                         3. Any monetary proceeds recovered by or awarded to Maverick or the

         alleged Joint Venture in the Texas Act on, as a result of settlement, summary judgment, trial or

         any other proceeding pursuant to which the matter is adjudicated or resolve (the Funds ), shall

         be place in an existing IOLT account, from which Maverick will not disburse the Funds until

         after a etermination in the Central District Action by settlement, summary ju gment or trial; or

         a segregate bank acc unt governe by a eposit account control agreement that bars and

          restricts the ability of Maverick, its representatives, and the bank to disburse the Funds until after

          a etermination in the Central District ction by settlement, summar judgment, trial or any

          other proceeding pursuant to which the Parties respective rights to the Funds is dete ined.



      Maverick (by and through its counsel, RMQ) did in fact deposit said recovery

into RMQ s existin IOLTA account, RMQ has previously provided SLHF with an

affidavit from its bookkeeper verifying that the proceeds were deposited therein, as

well as the corresponding wire transfer from the third-party Defendant.


      Nevertheless, SLHF has served the attached document subpoena on RMQ.


                                                          III.


      The subpoena is objectionable for the following reasons


      First: The subpoena calls for the production of privileged and confidential

information. Bank records for RMQ s IOLTA account, even the basic monthly

statement (and certainly “Bank Records as defined in the Subpoena), will contain

information about client settlement amounts. Such information is protected by the

attorney-die nt privilege.
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       Second The subpoena calls for disclosure of RMQ s trade secrets and/or

proprietary information. Production of RMQ s IOLTA account records would reveal

information about the business aspects of RMQ s law practice, to-wiP the volume of

cases resolved by RMQ in an average month/quarter/year, and would allow a

reasonable estimate of the fee income received by RMQ in an avera e

month/quarter/year. Such information is not made public by RMQ (or, upon

information and belief, almost every law firm except for some advertising firms ) and

RMQ does not wish for such information to be made known to the public or even to

counsel for SLHF.


        Third: The subpoena is wildly overbroad, seeking “all documents and “any

and all communications “regarding or relating to the settlement proceeds fro July

26, 2023 to present. In addition to its overbreadth, the subpoena also would sweep

in numerous communications which are protected by both attorney-client and

attorneywork-product privilege.2


        As such, the subpoena imposes an undue burden upon RMQ. Fed.R.Civ.P..

45(d)(1), 3(A)(iv). If SLHF persists in its efforts, RMQ will supplement this Motion

with declarations in this regard.




2 Bear in mind, of course, that the settlement proceeds arise out of the settlement of one case, and are
currently the subject of not only the California case listed in the subpoena but also a separate action
currently on file in the 136th Judicial District Court of Jefferson County, exas. In both of those cases,
Maverick (represented by RMQ) is engaged in on oing liti ation a ainst SLHF.
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                                         IV.


        RMQ has offered to provide to SLHF an updated affidavit confirming that the

funds remain in the IOLTA account. If SLHF refuses to accept this, RMQ reserves

the ri ht to seek sanctions pursuant to Fed.R.Civ.P. 45(d)(1).


        WHERFORE, PREMISES CONSIDERED, Movant prays that the Court grant

this motion, and grant Movant all relief, at law or in equity, as to which it is justly

entitled.


                                           Respectfully submitted,
                                           Reaud, Morgan & Quinn, L.L.P.
                                           801 Laurel Street
                                           Post Office Box 26005
                                           Beaumont, Texas 77720'6005
                                           Telephone: (409) 838'1000
                                           Telecopier: (409) 833'8236

                                        By: /s/ Jodn Q. erner
                                               Glen Morgan
                                               State Bar No. 14438900
                                                morgan@rmqlawfirm.com
                                               John G. Werner
                                               State Bar No. 00789720
                                               iwerner@rmqlawfi m.com

                                               Attorneys for Plaintiff

                            CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing

instrument has been forwarded to all appropriate parties on this 6th day of August,

2024.

                                                     /s/ ohn Q. cWerner
                                                     John G. Werner
